Case: 6:11-cr-00016-GFVT-HAI           Doc #: 286 Filed: 04/15/15          Page: 1 of 9 - Page
                                          ID#: 914



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

                                              )
 UNITED STATES OF AMERICA,                    )
                                              )
        Plaintiff,                            )      No. 6:11-CR-16-GFVT-HAI-1
                                              )
 v.                                           )
                                              )    RECOMMENDED DISPOSITION
 CHRISTOPHER LEE CARTER,                      )
                                              )
        Defendant.                            )
                                      *** *** *** ***

       The Court, on referral (D.E. 278), considers reported violations of supervised release

conditions by Defendant Christopher Lee Carter.       District Judge Van Tatenhove entered a

judgment against Defendant on September 19, 2011, for aiding and abetting his co-defendants

(and vice versa) to willfully and knowingly steal and purloin various property belonging to the

United States Department of Agriculture Forest Service, the total value of which exceeded

$1,000.00. D.E. 99. The judgment included twenty-four months of imprisonment and a three-

year term of supervised release to follow. Id. at 3–4. Defendant’s supervised release began on

October 16, 2012.

       On December 26, 2013, the United States Probation Office (“USPO”) issued a

Supervised Release Violation Report (“the First Report”) charging Defendant with three

violations of his supervised release. The First Report, in Violations #1 and #2, alleged that

Defendant twice violated the condition of his supervised release that states he shall “not commit

another federal, state, or local crime.”   It further alleged that Defendant violated Standard

Condition No. 11, which states “[t]he defendant shall notify the probation officer within seventy-

two hours of being arrested or questioned by a law enforcement officer.” The underlying
Case: 6:11-cr-00016-GFVT-HAI            Doc #: 286 Filed: 04/15/15         Page: 2 of 9 - Page
                                           ID#: 915



conduct in Violation #1 was a conviction upon a plea of guilty in state court to a charge of Theft

by Unlawful Taking Under $500, a Class A misdemeanor. The USPO issued a subsequent

addendum to the First Report that stated that the state charges, which served as the factual basis

for Violation #2, had been dismissed.

       At the outset of the final supervised release hearing on January 28, 2014, the parties

stated that they had arrived at an agreed disposition: if the Defendant would stipulate to the

remaining violations, the United States would move to dismiss Violation #2 and would

recommend revocation of supervised release, incarceration for nine months, and reimposition of

supervised release for a term of twenty-seven months.          The Court adopted the parties’

recommendation and further recommended it to District Judge Van Tatenhove. D.E. 200. On

April 8, 2014, District Judge Van Tatenhove adopted the undersigned’s recommended

disposition. D.E. 204. Defendant was released on August 8, 2014.

       On March 6, 2015, the USPO issued a second Supervised Release Violation Report (“the

Second Report”) charging Defendant with five violations, and then secured a warrant from

District Judge Van Tatenhove on March 10, 2015. D.E. 274. The Second Report, in Violation

#1, alleges that Defendant violated Special Condition No. 10 of his supervised release that states

he “must comply strictly with the orders of any physician or other prescribing source with

respect to use of all prescription medications.” Specifically, the Second Report states that

Defendant admitted to “eating” approximately nine to ten tablets of hydrocodone each day,

which was significantly more than the three tablets per day prescribed by his physician.

       In Violation #2, the Second Report alleges that Defendant violated Special Condition No.

9, which states “[t]he defendant shall notify the USPO immediately (i.e., within no later than 72

hours) if Defendant receives any prescription for a medication containing a controlled substance

                                                2
Case: 6:11-cr-00016-GFVT-HAI            Doc #: 286 Filed: 04/15/15           Page: 3 of 9 - Page
                                           ID#: 916



during the period of supervised release.” As a basis for this violation, the Second Report alleges

that a Kentucky All Schedule Prescription Electronic Report (KASPER) inquiry revealed that

Defendant was prescribed a number of prescriptions for controlled substances that were never

reported to the USPO.

       Violations #3, #4, and #5 allege three distinct violations of the condition that states “[t]he

defendant shall not commit another federal, state, or local crime.” Specifically, in Violation #3,

the Second Report alleges that on February 23, 2015, Defendant was arrested and charged with

Receiving Stolen Property—Under $500, in violation of KRS § 514.110, a Class A

misdemeanor, in Knox County District Court. In Violation #4, the Second Report alleges that

Defendant admitted that, on or about December 10, 2014, he stole a concrete mixer with an

estimated value of $1,500. The Second Report alleges that, based on this admission, Defendant

committed a violation of KRS § 514.110(3)(a), Receiving Stolen Property—Over $500, a Class

D felony. Finally, in Violation #5, the Second Report alleges that, based on Defendant’s own

admission, he sold nearly eighty hydrocodone tablets for $7 per tablet, which is a violation of 21

U.S.C. §§ 841(a)(1) and (b)(1)(C), a Class C felony.

       The Court conducted an initial appearance pursuant to Rule 32.1 on March 16, 2015, and

scheduled a preliminary hearing upon Defendant’s request. D.E. 277. At that time, the United

States made an oral motion for interim detention, to which Defendant did not object. Id. The

Court found that detention was appropriate as Defendant did not carry the heavy release burden

imposed upon him under Rule 32.1(a)(6) and 18 U.S.C. § 3143(a). Id. The Court later set a final

hearing following Defendant’s knowing, voluntary, and intelligent waiver of his right to a

preliminary hearing. D.E. 280.



                                                 3
Case: 6:11-cr-00016-GFVT-HAI            Doc #: 286 Filed: 04/15/15           Page: 4 of 9 - Page
                                           ID#: 917



       At the final hearing on April 8, 2015, Defendant was afforded all rights due under Rule

32.1 and 18 U.S.C. § 3583. D.E. 285. At the outset of the hearing, the parties stated that they

had agreed to recommend revocation, eighteen months of incarceration, and six months of

supervised release with inpatient substance abuse treatment, premised upon Defendant’s

stipulation to Violations #1 and #5. For purposes of Rule 32.1 proceedings, Defendant admitted

the factual basis for Violations #1 and #5, as described in the Second Report. The United States

moved to dismiss Violations #2, #3, and #4.

       The Court has evaluated the entire record, including the First and Second Reports and

accompanying documents, the underlying judgment in this matter, and Defendant’s pre-sentence

investigation report. Additionally, the Court has considered all of the 18 U.S.C. § 3553 factors

imported into the 18 U.S.C. § 3583(e) analysis.         Under section 3583(e)(3), a defendant’s

maximum penalty for a supervised release violation hinges on the gravity of the underlying

offense of conviction. Defendant’s conviction pursuant to 18 U.S.C. §§ 2 and 641, is a Class C

felony. See 18 U.S.C. § 2, 18 U.S.C. § 641, 18 U.S.C. § 3559. For a Class C felony, the

maximum revocation sentence provided under 18 U.S.C. § 3583 is two years of imprisonment.

See 18 U.S.C. § 3583(e)(3). The Policy Statements in Chapter 7 of the Guidelines provide

advisory imprisonment ranges for revocation premised on criminal history (at the time of

original sentencing) and the “grade” of the particular violation proven. See United States v.

Perez-Arellano, 212 F. App’x 436, 438–39 (6th Cir. 2007) (“Although the policy statements

found in Chapter Seven of the United States Sentencing Guidelines recommend ranges of

imprisonment, U.S.S.G. § 7B1.4, such statements ‘are merely advisory’ and need only be

considered by the district court before sentence is imposed.”) (citation omitted).



                                                 4
Case: 6:11-cr-00016-GFVT-HAI            Doc #: 286 Filed: 04/15/15          Page: 5 of 9 - Page
                                           ID#: 918



       Under U.S. Sentencing Guidelines Manual § 7B1.1, Defendant’s admitted conduct

qualifies as a Grade C violation with respect to Violation #1 and a Grade A violation with

respect to Violation #5. Given Defendant’s criminal history category of III (the category at the

time of the conviction in this District) and a Grade A violation, see U.S.S.G. § 7B1.2(b) (“Where

there is more than one violation of the conditions of supervision, or the violation includes

conduct that constitutes more than one offense, the grade of the violation is determined by the

violation having the most serious grade”), Defendant’s range, under the Revocation Table of

Chapter 7, is eighteen to twenty-four months.

       In support of the joint recommendation, the parties offered several justifications. First,

the United States argued that while Defendant’s conduct represents a significant breach of the

Court’s trust, it was a direct result of his severe drug addiction. The United States asserted that

Defendant’s extensive criminal history of theft was largely because of his struggles with

addiction. Moreover, the United States argued that a sentence at the bottom of the Guidelines

Range was sufficient, but not greater than necessary, because of Defendant’s role in the

investigation of these matters as described in the Second Report, as well as during a bench

conference. Finally, the United States asserted that inpatient substance abuse treatment would

not only serve to help Defendant, but would serve to protect the public against future crimes

triggered by his drug addiction. Defense counsel agreed with the reasoning of the United States

and further stated that Defendant was a young man, who, with the right help, could turn his life

around.

       The Court has considered all of the 18 U.S.C. § 3553 factors imported into the 18 U.S.C.

§ 3583(e) analysis, and finds that revocation and imprisonment of eighteen months is appropriate

based upon those factors.

                                                5
Case: 6:11-cr-00016-GFVT-HAI             Doc #: 286 Filed: 04/15/15         Page: 6 of 9 - Page
                                            ID#: 919



       Defendant’s original conviction in this case was for theft. His prior supervised release

violation was for theft. Here, again, the charged conduct includes theft. It troubles the Court

that after two terms of imprisonment, Defendant apparently continues to steal. In addition to

these thefts, Defendant’s history and characteristics exacerbate this concern.        Defendant’s

criminal history reflects a pattern of theft beginning in 2008. Defendant was convicted in 2008

of possession of a controlled substance and paraphernalia as well as two counts of theft. In 2010,

Defendant was charged with burglary and theft, and in 2011, he was charged with receiving

stolen property. The thefts detailed in the Second Report are not isolated mistakes, but a

reflection of Defendant’s habit of stealing.

       The need to deter criminal conduct and protect the public is a driving factor in the Court’s

analysis. Multiple terms of imprisonment have had little or no effect on Defendant’s decision-

making. Therefore, a significant period of incarceration is necessary in order to protect the

public from Defendant’s criminal conduct.

       The need to provide Defendant with education, training, or treatment is also an important

factor in the Court’s analysis. Defendant’s history of criminal activity is related to his severe

drug addiction, and therefore substance abuse treatment is needed. Defendant has previously

attended outpatient treatment, but he has been unable to remain clean. If Defendant can remain

clean, he will hopefully be able to put his criminal history behind him and become a productive

member of the community. However, if Defendant is unable to do this, as his past has shown, he

will remain a danger to the public.

       The Guidelines suggest that the primary wrong in the supervised release context is

violation of the Court’s trust by an offender; the particular conduct is an important but secondary

issue. See U.S. Sentencing Guidelines Manual 7 Pt. A(3)(b) (“[A]t revocation the court should

                                                6
Case: 6:11-cr-00016-GFVT-HAI            Doc #: 286 Filed: 04/15/15           Page: 7 of 9 - Page
                                           ID#: 920



sanction primarily the defendant’s breach of trust, while taking into account, to a limited degree,

the seriousness of the underlying violation and the criminal history of the violator.”). The nature

of supervised release includes trust placed in Defendant to strictly adhere to the conditions of his

release, but Defendant has repeatedly breached that trust. A significant term of imprisonment is

warranted to address this breach. The Court finds that revocation and a term of incarceration of

eighteen months will adequately address the seriousness of Defendant’s conduct. However,

another failure to adhere to the requirements of his supervision will likely result in a statutory

maximum term of imprisonment.

        The Court must also consider the need to avoid unwarranted disparities in sentencing

among similarly situated Defendants. A term of eighteen months of incarceration is within

Defendant’s U.S. Sentencing Guidelines Range, which serves to avoid unwarranted sentencing

disparities.

        A court may also reimpose supervised release, following revocation, for a maximum

period that usually subtracts any term of incarceration actually imposed due to the violation. See

18 U.S.C. § 3583(b) & (h). The post-revocation cap depends on the “term of supervised release

authorized by statute for the offense that resulted in the original term of supervised release.” See

18 U.S.C. § 3583(h). The general supervision-term limits of § 3583(b) apply “[e]xcept as

otherwise provided.” See id. § 3583(b). Defendant’s conviction under 18 U.S.C. §§ 2 and 641

carried a maximum supervised release term of three years. Under section 3583(h), the maximum

at this point is three years “less any term of imprisonment . . . imposed upon revocation of

supervised release.” 18 U.S.C. § 3583(h). Defendant has already served a nine month term of

revocation following his stipulation to the previous violations.        Therefore, the authorized

reimposition term of supervised release is not more than twenty-seven months, less any term of

                                                 7
Case: 6:11-cr-00016-GFVT-HAI            Doc #: 286 Filed: 04/15/15          Page: 8 of 9 - Page
                                           ID#: 921



imprisonment imposed upon this revocation. If this Recommended Disposition is adopted by

District Judge Van Tatenhove, Defendant will serve eighteen months of incarceration, yielding a

post-revocation supervision cap of nine months. The Court recommends that a term of six

months of supervised release be imposed following revocation. In order to address Defendant’s

severe drug problem, this Court further recommends that Defendant complete an inpatient

substance abuse treatment program while on supervised release.

       Based on the foregoing, the Court RECOMMENDS revocation and imprisonment for a

term of eighteen months based on the violations found, with a six month term of supervised

release to follow under the conditions previously imposed, with the added condition that

Defendant complete an inpatient substance abuse program. The Court further RECOMMENDS

that charged Violations #2, #3, and #4 in the Second Report be DISMISSED.

       Defendant’s right of allocution under Rule 32.1 is preserved, as reflected in the record.

Any waiver should comport with the Court’s standard waiver form, available from the Clerk.

Absent waiver, the matter will be placed on District Judge Van Tatenhove’s docket upon

submission.

        The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning this

recommendation, issued under subsection (B) of the statute. See also 18 U.S.C. § 3401(i). As

defined by § 636(b)(1), within fourteen days after being served with a copy of this recommended

decision, any party may serve and file written objections to any or all portions for consideration,

de novo, by the District Court. Failure to make timely objection consistent with the statute and

rule may, and normally will, result in waiver of further appeal to or review by the District Court

and Court of Appeals. See United States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981); Thomas

v. Arn, 474 U.S. 140 (1985).

                                                8
Case: 6:11-cr-00016-GFVT-HAI         Doc #: 286 Filed: 04/15/15   Page: 9 of 9 - Page
                                        ID#: 922



     This the 15th day of April, 2015.




                                           9
